Case 2:03-cr-20102-SH|\/| Document 43 Filed 06/09/05 Page 1 of 2 Page|D 46

 

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IN THE UNITED sTATEs DISTRICT cOURT " “’“ D'{"
FOR THE wEsTERN DISTRICT oF TENNESSEE 95 JUH
WESTERN DIVISION *9 FH 3’38
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C¢.E.r~:»::, :' t 9
UNITED sTATEs oF AMERICA, W'D' op §§ Z§:PB!;
vs. No. 03-20102*Ma

SHYRETTE JOHNSON,

Defendant.

 

ORDER GRANTING MOTION TO CONTINUE SUPPRESSION HEARING
AND ORDER EXCLUDING TIME

 

Before the court is the June 3, 2005, motion by Shyrette
Johnson, to reset the hearing on the motion to suppress Which is
presently set on June 22, 2005. Counsel for the government does
not oppose the resetting. For good cause shown, the motion is
granted. The hearing on the motion to suppress is reset to
Thursday, July 14, 2005, at 2:00 p.m.

The trial of this matter is continued to August l, 2005, at
9:30 a.m. with a report date of July 22, 2005, at 2:00 p.m.

The period from June 17, 2005, through August 12, 2005, is
excluded under 18 U.S.C. § Blél(h)(B)(B)(iv) to allow defense
counsel additional time to prepare.

lt is so ORDERED this _§Bf\day of June, 005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket sheet In compliance
wlth Rute 55 andlor 32{b) FRGrP on ' 1

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Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 43 in
case 2:03-CR-20102 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable Diane VeScovo
US DISTRICT COURT

